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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION
                                      www.flmb.uscourts.gov

In re:                                                                     Case No: 19-03614-JAF

Angelo L Williams

                               Debtor(s)./

                 TRUSTEE'S APPLICATION FOR ORDER AUTHORIZING
         TRUSTEE TO EMPLOY NAJI HASSAN AS REAL ESTATE AGENT FOR ESTATE

        The Trustee, Doreen Abbott, applies for an Order Authorizing the Trustee to employ Naji Hassan
of 7 Star Realty as Real Estate Agent for this Estate and would show:

    1. The Estate owns real property located 1021 Gardenbridge Pl, Saint Charles, MO 63303-4819. The
       Debtor scheduled the property with a value of $409,915.00 and liens totaling approximately
       $417,000.

    2. The Trustee desires to employ the Real Estate Agent to represent and assist the Trustee in selling
       the real property. The Real Estate Agent will list the property for sale, solicit bids, negotiate with
       lenders and potential buyers, and consummate a sale.

    3. After reviewing the facts and issues in this case, the Trustee has concluded that the assistance of a
       Real Estate Agent is necessary to enable the Trustee to discharge the Trustee's statutory duties. The
       Trustee has selected this Real Estate Agent because it has the ability and experience to render the
       necessary assistance, and is familiar with the real estate market in area where the real property is
       located.

    4. The Real Estate Agent has agreed to charge his customary fee of eight percent (8%) of the gross
       sale price of each Property is more than $50,000 and a flat fee of $3,000 if the gross sale price of
       each Property is less than $50,000, payment of which will be made closing, subject to the approval
       of the court pursuant to 11 U.S.C. §330 and is not guaranteed.

    5. To the best of the Trustee's knowledge, the Real Estate Agent has no connection with the debtors,
       creditors, any other party in interest, their respective attorneys and accountants, the United States
       Trustee, or any person employed in the office of the United States Trustee and is thus disinterested
       within the meaning of 11 U.S.C. §101(14).

         Dated: November 13, 2019

        I HEREBY CERTIFY that a copy of the foregoing was furnished to the following, via U.S. Mail,
postage prepaid or via electronic delivery via CM/ECF if the recipient is an authorized CM/ECF user, on
November 13, 2019:

Naji Hassan, 7 Star Realty, 9951 Atlantic Boulevard, Suite 130, Jacksonville , FL 32225
Office of United States Trustee
                                                        /s/ Doreen Abbott
                                                        Post Office Box 56257
                                                        Jacksonville, FL 32241-6257
                                                        (904) 886-9459
                                                        Trustee
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